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                             IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA


    STATE OF LOUISIANA, et al.,

            Plaintiffs,

                    v.

    JOSEPH R. BIDEN, JR.., in his official                      CIVIL ACTION NO. 22-cv-1213
    capacity as President of the United States of
    America, et al.,

            Defendants.


                          DEFENDANTS’ RESPONSE TO PLAINTIFFS’
                          MOTION FOR AN ENLARGEMENT OF TIME

          Defendants file this brief response to Plaintiffs’ Motion for an Enlargement of Time to File

   their Reply Brief in Support of Their Motion for a Preliminary Injunction (Motion). Defendants

   typically consent to requests for enlargements of time as a matter of course as a professional

   courtesy. Plaintiffs’ requested enlargement here, however, would substantially prejudice

   Defendants because it would result in virtually no time to review and analyze Plaintiffs’ reply brief

   (and any related submissions) before the preliminary injunction hearing currently set for May 26,

   2023. Accordingly, to avoid that prejudice, Defendants are constrained to oppose Plaintiffs’

   Motion, unless a short continuance of the preliminary injunction hearing is granted to allow

   Defendants an adequate opportunity to review Plaintiffs’ reply brief and any supporting

   submissions, and to prepare for the hearing.

          Under the current schedule, Plaintiffs’ reply brief is due on May 17, 2023. That schedule

   would give Defendants eight days to review and analyze Plaintiffs’ reply brief in preparation for

   the upcoming hearing. Plaintiffs seek an enlargement of time to file their reply brief on May 23,


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   2026. Plaintiffs contend that if their extension is granted the Court and the parties will have three

   days before the scheduled preliminary injunction hearing to review their filings. But assuming they

   file their reply papers on the evening of May 23, and considering that counsel for Defendants will

   be traveling from Washington, D.C. all day on May 25, 2023, Plaintiffs’ proposed enlargement of

   time would mean that, as a practical matter, Defendants will have little, if any, time to review and

   analyze Plaintiffs’ reply papers before the hearing. To avoid the substantial prejudice resulting

   from Plaintiffs’ request, and to ensure that Defendants have sufficient time to fully prepare for the

   preliminary injunction hearing, Defendants respectfully request that the Court reschedule the

   hearing for a date after June 1, 2023.

          Moving the preliminary injunction hearing by a minimum of seven days will not

   substantially prejudice Plaintiffs, whose motion for a preliminary injunction has been pending for

   almost a year. If the Court does not conclude that a brief continuance of the hearing date beyond

   June 1, 2023 is appropriate, then Defendants respectfully request that the Court deny Plaintiffs’

   Motion, because the enlargement they request would substantially prejudice Defendants’ ability

   to adequately prepare for the preliminary injunction hearing.


   Dated: May 16, 2023                  Respectfully submitted,
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